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     UNITED STATES BANKRUPTCY
     COURT DISTRICT OF NEW JERSEY
     Caption in Compliance with D.N.J. LBR
     9004-1(b)                                                                 Order Filed on May 10, 2024
                                                                               by Clerk
                                                                               U.S. Bankruptcy Court
     Mark S. Lichtenstein                                                      District of New Jersey
     AKERMAN LLLP
     1251 Avenue of the Americas, 37th Floor
     New York, NY 10020
     Telephone: (212) 880-3800
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     Counsel to Plan Administrator
     In re:                                                   Chapter 11

     BED BATH & BEYOND INC., et al.,1                         Case No. 23-13359 (VFP)

                                Debtors.                      (Jointly Administered)

              ORDER GRANTING MOTION OF MICHAEL GOLDBERG, AS PLAN
                ADMINISTRATOR, FOR ENTRY OF AN ORDER ENFORCING
                THE TERMS OF THE CHAPTER 11 JOINT PLAN INJUNCTION

     The relief set forth on the following pages, numbered two (2) through three (3), is ORDERED.




  DATED: May 10, 2024




 1
   The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of the
 Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the website
 of the Debtor’s proposed claims and noticing agent at https://restructuring.ra.kroll.com/bbby.




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 Case No. 23-13359-VFP
 Caption of Order: ORDER GRANTING MOTION OF MICHAEL GOLDBERG, AS PLAN
 ADMINISTRATOR, FOR ENTRY OF AN ORDER ENFORCING THE TERMS OF THE
 CHAPTER 11 JOINT PLAN INJUNCTION

            Upon the Motion for an Order Enforcing the Terms of the Chapter 11 Joint Plan Injunction

 and for related relief [Docket No. 2778] (the “Motion”), filed by Akerman LLP, attorneys for Michael

 Goldberg, as plan administrator (the "Movant”) for the debtor, Buy Buy Baby, Inc. (the "Debtor"), for

 entry of an order (this “Order”), enforcing the Chapter 11 Plan Injunction against The People of the

 State of New York ("NYS ") and the Nassau County Fire Marshall (the "Fire Marshall") and to

 preclude them from seeking any criminal penalties and monetary recoveries against the Debtor,

 the Wind Down Debtors or the Plan Administrator, individually or in his capacity as fiduciary of

 the Wind Down Debtors' estates as appointed by this Court, other than as a monetary claimant

 against the Debtor's estate; and it appearing that proper and adequate notice of the Motion has been

 given and that no other of further notice is necessary; and venue being proper in this District

 pursuant to 28 U.S.C. §§ 1408 and 1409; and the NYS and the Fire Marshall having not opposed

 the Motion and having agreed to the relief sought; and upon the representations of Movant, by

 counsel, to the Court on February 7, 2024; and after due deliberation and sufficient cause appearing

 therefor

            IT IS HEREBY ORDERED THAT:

            1.       The Motion is hereby GRANTED as set forth herein.

            2.       The Plan Injunction2 is hereby enforced against NYS and the Fire Marshall.

            3.       The actions styled as The People of the State of New York v. Buy Buy Baby, Inc.

 pending in the Nassau District Court under Docket Numbers CR-021755-22NA and CR-006855-23NA

 against the Debtor, are hereby enjoined with prejudice by the Plan Injunction from pursuing any



 2
     All capitalized terms not defined herein shall bear as their meaning the definitions ascribed to them in the Motion.

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 claims, criminal or civil, against the Debtor, the reorganized Debtor, or their affiliated debtors, and

 the Movant, other than as expressly permitted below.

          4.    The People of the State of New York are hereby authorized to file a late filed claim

 against the Debtor for any fines or penalties incurred by the Debtor's estate as detailed in the

 District Court Action within sixty (60) days of the date of the entry of this Order.




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